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 5
                        IN THE UNITED STATES DISTRICT COURT
 6                          FOR THE DISTRICT OF ARIZONA
 7
     United States,
 8         Plaintiff,                           Case No. CR-18-422-DJH
 9
           v.                                       ORDER
10

11   Joye Vaught,
12
           Defendant.

13

14

15         Upon Motion of the Defendant, with good cause appearing,
16
           IT IS ORDERED granting Defendant Joye Vaught leave to appear by
17
     [phone/videoconferencing] at the August 18, 2023 Frye-Cooper Hearing in this
18

19   matter. Details for the remote appearance will be emailed to Ms. Vaught’s
20
     counsel, Joy Bertrand.
21

22         SO ORDERED this _______ day of ___________, 2023.
23
                                         ______________________
24
                                         United States District Judge
25

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